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10
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11

12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
17
                                  DECLARATION OF EDWARD
18   THIS DOCUMENT RELATES TO ALL DIVER IN SUPPORT OF
     ACTIONS                      PLAINTIFFS’ MOTION TO
19                                DISQUALIFY NFL EXPERT DR.
                                  ALI YURUKOGLU
20
                                              JUDGE: Hon. Philip S. Gutierrez
21                                            DATE: January 27, 2023
                                              TIME: 1:30 p.m.
22                                            COURTROOM:
                                                  First Street Courthouse
23                                                350 West 1st Street
                                                  Courtroom 6A
24                                                Los Angeles, CA 90012
25

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 1   I, Edward Diver, hereby declare:
 2          I am a partner in the law firm Langer Grogan & Diver P.C. and am admitted
 3   pro hac vice to practice before the United States District Court for the Central
 4   District of California in this action. I submit this declaration in support of Plaintiffs’
 5   Motion to Disqualify NFL Expert Dr. Ali Yurukoglu. I am competent to testify to
 6   the matters stated herein, have personal knowledge of the facts and statements in
 7   this declaration, and each of the facts and statements is true and correct.
 8          1.     I served as lead counsel in two class action antitrust cases in the U.S.
 9   District Court for the Southern District of New York against the National Hockey
10   League and Major League Baseball: Laumann v. National Hockey League, No.
11   1:12-cv-01817-SAS (S.D.N.Y.); and Garber v. Office of the Commissioner of
12   Baseball, No. 1:12-cv-03704-VEC (S.D.N.Y.). Those cases were consolidated, and
13   I refer to them hereafter as “Laumann.” Howard Langer of our firm, who was also
14   one of the lead attorneys in those cases, has also been appointed co-lead counsel for
15   Plaintiffs in this action.
16          2.     Langer Grogan & Diver retained Dr. Ali Yurukoglu as a consulting
17   expert for Laumann in May 2012, only a few weeks after the complaint in Laumann
18   was filed and shortly before the complaint in Garber was filed. Langer Grogan &
19   Diver agreed to compensate Dr. Yurukoglu at $600 per hour for his services in
20   Laumann. Attached hereto as Exhibit 1 is a true and correct copy of Langer Grogan
21   & Diver’s retention agreement with Dr. Yurukoglu.
22          3.     Upon the retention of a consulting expert in any case, it is Langer
23   Grogan & Diver’s practice to advise the expert that their work should be kept
24   confidential. I have no reason to believe that did not happen when Dr. Yurukoglu
25   was retained in Laumann.
26          4.     After the motion to dismiss in Laumann was denied, discovery
27   commenced. Around that time, I and the other economists retained by my firm
28   conferred with Dr. Yurukoglu on the data that would be necessary to support


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 1   Plaintiffs’ economic modeling and on its basic design. I shared my ideas regarding
 2   these basic strategic decisions with Dr. Yurukoglu and sought Dr. Yurukoglu’s
 3   feedback and additional ideas regarding them.
 4         5.    When the data began to be produced in Laumann in 2013, Dr.
 5   Yurukoglu also signed onto the protective order in Laumann. Attached hereto as
 6   Exhibit 2 are true and correct copies of Dr. Yurukoglu’s signed agreements to
 7   comply with the protective order in Laumann.
 8         6.    Over the course of his consulting work in Laumann, Dr. Yurukoglu
 9   was a regular participant on calls addressing economic modeling issues and
10   strategies throughout the period leading up to the class certification hearing. I was
11   on several of those calls, as were other attorneys from Langer Grogan & Diver.
12   During those discussions, I and other attorneys from our firm shared our thoughts
13   regarding the economic modeling, the strengths and weaknesses of the defendants’
14   arguments, and litigation strategy. Dr. Yurukoglu also assisted in coding portions of
15   the plaintiffs’ damages models in Laumann. In sum, Dr. Yurukoglu had repeated
16   contact with Langer Grogan & Diver attorneys and was exposed to their mental
17   processes and strategic decision making.
18         7.    At one point during Laumann, plaintiffs’ counsel—including Langer
19   Grogan & Diver—elected to switch teams handling the economic modeling for
20   plaintiffs. Despite that change, Dr. Yurukoglu remained a consulting expert for the
21   plaintiffs’ team. He was one of only two economists that worked with plaintiffs
22   throughout the entirety of the Laumann case.
23         8.    During his work consulting on Laumann, Dr. Yurukoglu reviewed all
24   the relevant expert reports as well as the Daubert motion seeking to exclude
25   plaintiffs’ expert Dr. Roger Noll. Dr. Yurukoglu participated in calls with me and
26   other attorneys from Langer Grogan & Diver on how to respond to the Daubert
27   motion and the arguments made by the defendants’ experts.
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 1         9.     During the Laumann case, I deposed the defendants’ expert Dr. Ariel
 2   Pakes, a noted expert in econometric modelling, and dissertation advisor to Dr.
 3   Yurukoglu. In preparing for that deposition, I had a call with Dr. Yurukoglu to
 4   discuss my deposition outline and strategy.
 5         10.    Dr. Yurukoglu billed Langer Grogan & Diver $37,950 for his work on
 6   Laumann. Attached hereto as Exhibits 3 to 8 are true and correct copies of Dr.
 7   Yurukoglu’s invoices for his work in Laumann. These invoices cover work from
 8   April 2012 to November 2014, reflecting the fact that Dr. Yurukoglu worked on
 9   Laumann for over two and a half years. The invoices further confirm that Dr.
10   Yurukoglu was involved in “[o]utlining empirical strategy”, “[d]ata request[s]”,
11   reviewing expert reports, and coding for plaintiffs’ economic model. The invoices
12   also confirm that Dr. Yurukoglu participated in multiple calls related to the
13   Laumann case.
14         11.    I also have access to correspondence with Dr. Yurukoglu during his
15   consultation on Laumann. I believe statements were made in that correspondence
16   and oral conversations that could be useful in cross-examining Dr. Yurukoglu on
17   his opinions in this case. However, because that information is confidential and
18   reflects attorney work product, I would not be able to do so without compromising
19   the confidentiality of that information.
20         12.    I have reviewed the deposition transcripts and interrogatory responses
21   from the Laumann matter and can confirm that at least one of the named plaintiffs
22   in that litigation, Vincent Birbiglia, is a class member in this matter as he purchased
23   NFL Sunday Ticket from DirecTV during the class period.
24         13.    On November 18, 2022, I deposed Dr. Yurukoglu regarding his
25   opinions in this case. Attached hereto as Exhibit 9 is a true and correct copy of
26   excerpts from the transcript of that deposition with redactions that were agreed to
27   by the NFL applied.
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 1         14.    Attached hereto as Exhibit 10 is a true and correct copy of transcript
 2   excerpts from the deposition of Jason Baker, dated July 15, 2022.
 3

 4         I declare under penalty of perjury under the laws of the United States that the
 5   foregoing is true and correct.
 6         Executed December 2, 2022, in Philadelphia, Pennsylvania.
 7
                                                  /s/ Edward Diver
 8                                                Edward Diver
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